Case 3:07-cr-00042-RLY-CSW   Document 588   Filed 01/04/12   Page 1 of 3 PageID #:
                                    1709




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA       )
                                )
              v.                ) Case No. 3:07CR00042-001
                                )
 FREDY MARTINEZ-PALMERO         )
              Defendant.        )

                                   ORDER

       BEFORE THE COURT is a motion filed by the United States of America

 and the Director of the Federal Bureau of Prisons pursuant to

 18 U.S.C. § 3582(c)(1)(A)(i), seeking a modification of the term

 of imprisonment of the defendant, Fredy Martinez-Palmero, to time

 served, and commencement of a five-year term of supervised release

 previously imposed.     The court finds:

       1.   Defendant, Fredy Martinez-Palmero, was found guilty of

 violating 21 U.S.C. §§ 846 Conspiracy to Possess with Intent to

 Distribute in Excess of 500 Grams of Methamphetamine.

       2.   Mr. Martinez-Palmero was sentenced on November 10, 2009,

 in the United States District Court for the Southern District of

 Indiana, to a total term of imprisonment of 121 months followed by

 a five-year term of supervised release.

       3.   He is not likely to survive either to his home detention

 eligibility date of May 4, 2016, or his Good Conduct Release date

 of November 4, 2016.

       4.   Mr. Martinez-Palmero, age 31, has been diagnosed with

 metastatic esophageal cancer.      Mr. Martinez-Palmero has been

 aggressively treated with weekly chemotherapy; however, his
Case 3:07-cr-00042-RLY-CSW   Document 588   Filed 01/04/12   Page 2 of 3 PageID #:
                                    1710


 condition is poor and continues to deteriorate.             He requires

 assistance with his Activities of Daily Living.             His prognosis is

 very poor and oncologists believe that his life expectancy is less

 than six months.

       5.   Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the court,

 upon motion of the Director of the Bureau of Prisons, to modify a

 term of imprisonment upon the finding that extraordinary and

 compelling reasons warrant the reduction.       The Director of the Bureau

 of Prisons contends, and this court agrees, that the Defendant's

 terminal medical condition and limited life expectancy constitute

 extraordinary and compelling reasons that warrant the requested

 reduction.

       IT IS THEREFORE ORDERED that the defendant's term of

 imprisonment is hereby reduced to the time he has already served.

       IT IS FURTHER ORDERED that the defendant shall be released from

 the custody of the Federal Bureau of Prisons as soon as his medical

 condition permits, the release plan is implemented, and travel

 arrangements can be made.
Case 3:07-cr-00042-RLY-CSW   Document 588   Filed 01/04/12   Page 3 of 3 PageID #:
                                    1711


        IT IS FURTHER ORDERED that upon his release from the custody

 of the Federal Bureau of Prisons, the defendant shall begin serving

 the five-year term of supervised release previously imposed.

        DONE AND ORDERED THIS 4th DAY OF JANUARY 2012.



                              ________________________________________
                              Richard L. Young, Chief Judge
                              UNITED STATES DISTRICT COURT
     01/03/2012               SOUTHERN DISTRICT  OF INDIANA
                                              _________________________________
                                                 RICHARD L. YOUNG, CHIEF JUDGE
                                                 United States District Court
                                                 Southern District of Indiana

 Distribution:

 Matthias D. Onderak
 Matthias.Onderak@usdoj.gov

 United States Probation

 United States Marshal

 Superintendent
 FMC BUTNER
 Federal Medical Center
 P.O. Box 1600
 Butner, NC 27509
